    Case
     Case1:21-cr-00117-TFH
          1:21-cr-00117-RCL Document
                             Document55-1
                                      68 Filed
                                          Filed12/14/21
                                                11/01/21 Page
                                                          Page11ofof22




                           RYAN NICHOLS EXHIBIT LIST


1. Comparison of Antifa in Blac Bloc to Uniformed Police in Riot Gear
     a. Antifa Blac Bloc NYC
     b. Antifa Blac Bloc Portland
     c. U.S. Capitol Police in Riot Gear
     d. D.C. Metropolitan Police in Riot Gear

2. Ryan Nichol’s Good Conduct and Merit Letters from DC Jail Guards

3. January 22, 2021 Detention Hearing Transcripts

4. Don Nichols Affidavit

5. Ryan Nichols Search and Rescue Photos

       a.   Nichols rescuing an elderly woman from flood waters;
       b.   Nichols rescuing five children and two adults from flood waters;
       c.   Nichols’s boat filled with cases of water;
       d.   Nichols and Harkrider heading out into flood waters;
       e.   Facebook picture of Nichols rescuing six dogs locked in Hurricane Florence flood
            waters;
       f.   Picture from Nichols’ GoPro where he is rescuing a young woman and infant;
       g.   Picture from Nichols’ GoPro where from inside boat with supply box, rescuing an
            elderly woman, and mother and child;
       h.   Nichols giving medical attention to an elderly woman in Panama City, FL after he
            called in a helicopter rescue;
       i.   Picture of Nichols’ rescue boat pulling up to a flood house with woman inside;
       j.   Picture of Nichols on the Ellen DeGeneres show

6. Picture of Roseann Boyland and Philip Anderson at the Tunnel

7. Michael Foy’s Emergency Bond Review Motion

8. VP Harris’ June 1, 2020 tweet supporting bail fund for BLM and Antifa

9. FBI Interview of Don Nichols January 20, 2021

10. THE FINAL CALL as provided to January 6th Detainees at DC Jail signed by Ryan

11. Sworn Statement of Ryan Nichols

12. Cullen Stone Notarized Recantation Statement

13. Highly Sensitive Video:      West Terrace 3 Hour Block
     Case
      Case1:21-cr-00117-TFH
           1:21-cr-00117-RCL Document
                              Document55-1
                                       68 Filed
                                           Filed12/14/21
                                                 11/01/21 Page
                                                           Page22ofof22




14. Sensitive Video:                4 Warning Graphic Content

15. Sensitive Video:                GoPro Raw 360 Clip

16. Sensitive Video:                His Pants Are Falling Down

17. Sensitive Video:                I Can’t Breathe

18. Sensitive Video:                RSBN US Capitol on Lockdown

19. Sensitive Video:                Patriots Storm the US Capitol

20. FAA Letter                      Thanking Nichols and Closing Investigation

21. Construction Fight Pictures     20(a)-20(e)

22. DD2-14                          Honorable Military Discharge, Medals, and Ribbons

23. EMERGENCY REQUEST TO INVESTIGATE MISTREATMENT OF PRE- TRIAL
    DETAINEES FROM THE JANUARY 6, 2021 U.S. CAPITOL PROTEST

24. J6 Political Prisoners Letter
